COTO 0,
U.S. BANKRUPTCY COURT
Affidavit of Christopher Christensen INDIANAPOLIS DIVISION

JUN 25 2019 oy
STATE OF COLORADO -

COUNTY OF LARIMER SOUTHERN DISTRICT OF INCXANA

The undersigned, CHRISTOPHER CHRISTENSEN, being duly sworn, hereby deposes and

says:

1. I am over the age of 18 and I am a resident of the State of Colorado. I have personal
knowledge of the facts herein, and, if called as a witness, could testify completely thereto.

2. I suffer no legal disabilities and have personal knowledge of the facts set forth below.

3. Danial J. Grumme is listed as the President of Quality Stone with the Indiana Secretary of
State (Exhibit #1)

4, On 11/28/2018, Danial J. Grumme, President of Quality Stone Company executed an
Affidavit and Assignment of Debt to myself. The Affidavit and Assignment of Debt was
recorded with the Larimer County ,Colorado Clerks Office (Exhibit #2)

5. On 6/4/19, I mailed a "Transfer of Claim" to the Southern Indiana Bankruptcy Court in
Indianapolis, IN (Exhibit #3)

6. Competing claim filer Cara Lynne Grumme owes restitution in excess of the unclaimed
funds in question. (Exhibit #4)

7. At the time of writing of this affidavit, there has been no objection filed on the Transfer of
Claim

I declare that, to the best of my knowledge and belief, the information herein is true, correct, and
complete.

,20 /7

 

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NOTARY ACKNOWLEDGEMENT
STATE OF COLORADO, COUNTY OF LARIMER, ss:

This Affidavit was acknowledged before me on this? GO’ ky of \ Jer C2 l/F,
______ by Christopher Christensen, who, being first duly sworn on oath according to law, deposes
and says that he/she has read the foregoing Affidavit subscribed by him/her, and that the matters
stated herein are true to the best of his/her information, knowledge and belief.

Aha CS Li.

 

 
 
 
     
   

 
 

SUE E ALLEN

 

 

Notary Public - State of Colorado -
Rotary 1D 20134061703 Notary Public
ty Commission Expires Nov 18, 2021

Title (and Rank)

My commission expires “7 Wy F fear

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Page 2 of 2
 

 

 

 

 

Indiana Secretary of State

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Filer Name Filer Title

CARA L. GRUMME VICE PRESIDENT
Years Filed

2005/2006

 

Entity name and current principal office address

THE QUALITY STONE CO., LLC
C/O CARA L GRUMME

4455 E CONNER ST.
NOBLESVILLE, IN 46060

 

 

Entity Creation Date Domicile State
4/26/2001 INDIANA
Entity Type

DOMESTIC LIMITED LIABILITY COMPANY (LLC)

 

Current registered agent and registered address

CARA L GRUMME
4455 E CONNER ST
NOBLESVILLE, IN 46060

 

Current principal(s) and address(es)
PRESIDENT

DANIAL J. GRUMME
4455 E. CONNER STREET
NOBLESVILLE, IN 46060

AMBIT AL.

 

 

 

 

 

 

Page: 1 of 1 Packet: 2001042700031 DCN: 2005072500353
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Angela Myers, Clerk & Recorder, Larimer County, CO

Affidavit, and Assignment, of Debt

Comes now affiant, and states:

| am Danial Grumme, for Quality Stone Company the “Piaintiff'and have authority to sign documentation in
these matters on behalf of “Ptaintiff”

1 am of adult age and am fully authorized by Plaintiff to make the following

representations. | am familiar with the recordkeeping practices of Plaintiff. The following representations are
true according to documents kept in the normal course of Plaintiff's business and/or my personal knowledge:
"Piaintif?" is the original owner of this debt and the original debtor (“defendant”) Thomas Gravelie “Defendant”,

has an unpaid balance of $¢ on account 4277

That amount is due and owing to Plaintiff. This account opened on (ap faa

Mga. 2 n Defer wnt gig
type of account ie(please enter a check mark in the appropriate biank):

__Credit card account (i.e. Visa, Mastercard, Department Store, etc.)

List the name of the Company/Store issuing credit card:

_.ficcount for utilities (i.e. telephone, electric, sewer, etc.)

__Medica! bi account (i.e. doctor, dentist, hospital, etc.)

__Account for services (i.e. attorney fees, mechanic fees, etc.)

Judgment issued by a court (a of the judgment is required to be attached)

X Other:(Please expiain) “Coees Saud?

This account balance : ,

] Late fees in the amount of $ Ale as of

] Other (Explain) ‘

] Interest at a rate of _ 4/7 _% beginning on

“Plaintiff is not seeking attorney's fees.

 

 

 

Plaintiff believes that defendant is not a minor or an incompetent individual.
Plaintiff hereby assigns this debt to Christopher Christensen

| swear the penalties of perjury that the foregoing representations are true.
elie tS

 

     

Assignor t , a A a
ZL ___ day OF Balas 20125 emia) rime d speurecrie
Cone ge hath eee an (s)nelthey is/are in fact the Assignor, or the authorized

 
 
    

ASSN — DOCK Oana emily, At ls is
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Please note — It is always recommended that you speak with an attorney prior to signing any documentation.

Ax Yi ls AX
Case 07-02864-JJG-7A Doc122_ Filed 06/25/19 EOD 06/25/19 11:15:29 Pg5of8
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B 2100A (Porm 2100A) {12/15}

In re

Tames Salar Aas

TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111 (a). Transferee

hereby gives evidence and notice pursuant fo Rule 3001(e)(2), Fed. R. Bankr, P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

Le SOLAR L bs uSTEML IER Louse Cntr Ceaser Stave

 

 

 

‘Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): ZO-7___
should be sent: 4/7 EF pith ; Amount of Claim: :
Loti lé, C2) BESE Date Claim Filed:
Phone: BO-S/9- PIAL Phone: 2/7 a= HY,
Last Four Digits of Acot #: asl - Last Four Digits of Acct. #: A077

Name and Address where transferee payments
should be sent (if different from above):

Phone:
Last Four Digits of Acct #:

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

 
 

Penalty jor making 2 folse statement: Fine of up to $500,000 or imprisonment for up to 5 years, oF both. 18 UGC. 88 152 & 3571,

LXMEIT Y. F
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6/20/19
To Whom It May Concern,

Please file these documents for a hearing on 6/27/19 at
11:00 AM on Case# 07-02864-JMC-7A.

Thank you!

Sincerely,
VY, 1 aE ttlY
Christopher Christensen

720-318-9902
 

 
 

    

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